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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                                   :
OTTO A. VERNON,                                                    :   ORDER
                             Plaintiff,                            :
                                                                   :
                   -against-                                       :   19-CV-10520 (VEC) (OTW)
                                                                   :
COMMISSIONER OF SOCIAL SECURITY,                                   :
                                                                   :
                             Defendant.                            :
                                                                   :
---------------------------------------------------------------X

ONA T. WANG, United States Magistrate Judge:

         The pro se Plaintiff’s response to the Commissioner’s Motion for Judgment on the

Pleadings was originally due by June 19, 2020. (ECF 13). After Plaintiff failed to timely file a

response, I ordered, on October 20, 2020, that Plaintiff respond by November 20, 2020. (ECF

16). After Plaintiff updated his address with the Court and to ensure that Plaintiff had received

the recent filings and orders, I extended the response time to January 7, 2020.

         On January 6, 2020, Plaintiff requested a 30-day extension of time so that he may obtain

counsel. (ECF 19). The Commissioner consents. The application is GRANTED. Plaintiff’s response

is due by February 5, 2021.

         No further extensions will be granted unless good cause shown. Any request for an

extension must be filed by February 1, 2021.
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        The Clerk of Court is respectfully requested to mail a copy of this Order to the pro se

Plaintiff.


        SO ORDERED.

                                                            s/ Ona T. Wang
Dated: January 11, 2021                                                Ona T. Wang
       New York, New York                                     United States Magistrate Judge




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